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                                 IN TITE TJNITED STATES DISTRICT COI'RT FOR
                                          SOUTHERNDISTRICT OF GEORGIA
                                                                                                                              CIffnr
                                                                                                                                      AU
                                                 DUBIIN DIVISION
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U N I T E D S T A T E SO E A M E R ] C A
                                                                              *           cR 313-017

D E T R O NL . R U S H ] N G



                                                                         ORDER


                  Defendant has fifed                              a motion for               reduction                   of sentence under

18 U.S.C.                        S 3582(c) (2) on the                             basis       that               Amendment 782 to                   the

UniLed Srates                               SenLencing Cuidelines                             has revised                    the      guidelines

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st,y                         u




782 became effective                                          on November I,                  201,4, no defendant                           may be

refeased                         on        the        basis         of       the        retroactive                       amendment before

November L, 201,5. See U.S.S.G. Amend. 788.                                                                        T h u s , t h e C o u r t v n i ff
                      -r.^       -     -^...r ^,,      ^f     r-ascs      ir]volvinry          rs -l u- 9r r n    -reff     i/-Linn     , - r f€ a n S e S
                                                                         !.rvv!vrrrv                              L!qrr




in due course,                                   If   Defendant is                 entitled             to a sentence reduction

as           a         resuft               of        amendments to                     the    United                 SLates          Sentencing

Guidelines,                            the        Court       wil-L make such a reduction                                       sua spante.

Accordingly,                               Defendant's              motion          (doc. no.              122) ip,tgfiERRED.1
                                                                                                               , r)r
                  ORDERENTEREDat Augusta,                                         ceorgia,             '"-'+ // llaa v of Mar.h
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20L5.




                                                                                              ITED STAT                      DISTRICT JUDG



                  t         The Cferk                  is     directed             to     terminate                   the     motion        for
edmr r - <f ra I i \/e nrrrnoses                               .
